Case 6:20-cr-00034-CEM-EJK Document 26 Filed 03/11/20 Page 1 of 2 PageID 120




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


UNITED STATES OF AMERICA

v.                                                        Case No: 6:20-cr-34-Orl-41EJK

CARL STUART FAREY
                                           /

                                           ORDER

       THIS CAUSE is before the Court upon the filing of a Report and Recommendation

Concerning Plea of Guilty (Doc. 22) filed on March 3, 2020. United States Magistrate Embry J.

Kidd recommends that the Court accept Defendant’s Amended Plea Agreement (Doc.16) and

guilty plea, that Defendant be adjudicated guilty, and that the Court impose sentence at a

sentencing hearing.

       After an independent de novo review of the record and noting that the Government filed a

Notice of No Objection (Doc. 23) on March 3, 2020, as did Defendant (Doc. 24), this Court agrees

entirely with the findings of fact and conclusions of law in the Report and Recommendation. The

plea is accepted and Defendant is hereby adjudicated guilty as to Counts One and Two of the

Information (Doc. 10).

       Therefore, it is ORDERED and ADJUDGED that the Report and Recommendation (Doc.

22) is ADOPTED and CONFIRMED and made a part of this Order.




                                          Page 1 of 2
Case 6:20-cr-00034-CEM-EJK Document 26 Filed 03/11/20 Page 2 of 2 PageID 121




       DONE and ORDERED in Orlando, Florida on March 11, 2020.




Copies furnished to:

Counsel of Record




                                     Page 2 of 2
